                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                             BROWNSVILLE DIVISION


UNITED STATES OF AMERICA                     §
and STATE OF TEXAS ex.                       §
rel. DR. JOSE DONES                          §
         PLAINTIFFS                          §   CIVIL ACTION NO. 1:21-cv-181
                                             §
VS.                                          §
                                             §
HARLINGEN MEDICAL CENTER, L.P.               §   JURY TRIAL DEMANDED
DR. ERIC G. SIX,                             §
VALLEY NEUROSURGEONS, P.L.L.C.,              §
MICHAEL GONZALEZ,                            §
NUERA MEDICAL L.L.C. and                     §
PRIME HEALTHCARE SERVICES, INC.              §
     DEFENDANTS                              §


      MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT DR. ERIC SIX, M.D.
                 AND VALLEY NEUROSURGEONS, P.L.L.C.'S
         MOTION TO DISMISS RELATOR'S FIRST AMENDED COMPLAINT


        Defendants, Dr. Eric Six, M.D. and Valley Neurosurgeons, P.L.L.C. ask this Court

to dismiss Dr. Jose G. Dones's (Relator) First Amended Complaint pursuant to Federal

Rule of Civil Procedure 12(b)(6) for failure to state a claim, and based on Rule 9(b) for

failure to meet the heightened pleading standard for claims alleging fraud.

                                Statement of the Issues

        Has Relator satisfied Federal Rule of Civil Procedure 8(a) and the heightened

pleading requirements under Rule 9(b) in alleging a claim under the False Claims Act at

31 U.S.C. § 3729(a)(1 )(A) ("presenting false claims"), § 3729(a)(1 )(B) ("making or using

false records or statements"), or 31 U.S.C. §3729(a)(1 )(C) (conspiracy to violate the FCA),

and the Texas Medicaid Fraud Prevent Act under Tex. Human Res. Code Ann.§ 36.001,

et seq., against Dr. Eric Six, M.D. and Valley Neurosurgeons, P.L.L.C.?
       Under Federal Rule of Civil Procedure 12(b)(6), does Relator fail to state a claim for

violating the Anti-Kickback Statute at 42 U.S.C. § 1320A-7b(b), Stark Law at 42 U.S.C. §

1395nn, and the Texas Medicaid Fraud Prevent Act at Tex. Human Res. Code Ann . §§

36.002(1) and (4)(8) against Dr. Eric Six, M.D. and Valley Neurosurgeons,. P.L.L.C.?

                              Background and Perspective

       Dr. Eric Six and Valley Neurosurgeons, P.L.L.C. have been in competition with Dr.

Dones for over 20 years. During that 20 year period of time, Dr. Dones has been hired by

the majority of the Plaintiffs Personal Injury Bar including Dr. Dones's Counsel in this case,

to treat their Plaintiffs under Letters of Protection. Dr. Dones has opined that hundreds of

those Plaintiffs needed spinal surgeries. In many, if not most of those cases, Dr. Six and/or

other Neurosurgeons hired by the Defense have opined that the MRls in question were

normal and that the surgical recommendations were not warranted and that they were

being priced out at a rate of at least 10 times higher than their fair market value.

                                          Joinder

       Dr. Six and and Valley Neurosurgeons, P.L.L.C. join in and concurs in the

arguments advanced by co-defendants Harlingen Medical Center, L.P. ("HMC")and Prime

Healthcare Services, Inc. ("Prime") and would reiterate and re-emphasis how Relater has

wholly failed to meet the requirements of Rule 12(b)(6) and Rule 9(b).

           Relater has pied no details of an FCA scheme as to Dr. Six and
                  Valley Neurosurgeons, P.L.L.C. under FRCP 9(b)

       Rule 9(b) requires a Relater to plead the "who, what, when , where, and how" of

alleged fraud in an FCA case. United States ex rel. Steury v. Cardinal Health, Inc., 625

F.3d 262, 266 (5th Cir. 2010). This must be pied specifically for each defendant, and the

Complaint in this case is woefully deficient in pleading any details of any involvement by
Dr. Six and Valley Neurosurgeons, P.L.L.C. in this alleged scheme. There are no facts

pied to explain any fraudulent conduct by Dr. Six and Valley Neurosurgeons, P.L.L.C ..

There is no whiff of wrongdoing by Dr. Six and Valley Neurosurgeons, P.L.L.C. of the types

of issues the Stark Law or Antikickback Statute are designed to guard against such as

causing the purchase of implant equipment at an inflated price, increasing cost to the

system or performing medically unnecessary surgeries or using sub-par products. The

gross litany of missing allegations of Dr. Six and Valley Neurosurgeons, P.L.L.C.'s

participation in any scheme is exhausting. Who- There is no pleading of any

communication- orally, by e-mail, letter, text- by Dr. Six and Valley Neurosurgeons,

P.L.L.C. with anyone at Harlingen Medical Center with which he is supposed to have

engaged in a complicated kickback scheme and conspiracy. For example, who in

management at the hospital did he discuss this alleged scheme with? What-There are

no pleadings of what Dr. Six and Valley Neurosurgeons, P.L.L.C. or anyone else said, what

they allegedly agreed to, or how one can infer a conspiracy. Was there an agreement to

refer patients in exchange for using products from his son-in-law's distributorship? What

were the alleged details? When did this allegedly happen? All we see in Relator's pleading

is "on information and belief for a decade." Where was the alleged scheme discussed?

How was the alleged scheme accomplished? Were the products vetted at the hospital?

Were the products of good quality? Did Mr. Gonzales pass remuneration along to Dr. Six

and Valley Neurosurgeons, P.L.L.C. as a result of this alleged scheme?            Did the

distributors bill these products above fair-market value to the hospital? All of these

questions are critical to understanding the alleged scheme and not a single one is pied.

The Relator has wholly failed to show that any unlawful agreement existed between

defendants to make false or fraudulent claims. No part of the pleadings explain that

anything out of the ordinary course of business took place.
       Moreover, Relater has also fails to allege with any detail that Dr. Six and Valley

Neurosurgeons, P.L.L.C. submitted a bill to the government for reimbursement or caused

Harlingen Medical Center to do so. Relater makes conclusory assertions in his Complaint

that "every bill that Dr. Six and Valley Neurosurgeons, P.L.L.C . . .. submitted to the USG

or TSG for reimbursement" (Pl.'s Am. Compl.    ,m 53, 58) but never explains whether any
specific bills, or even category or type of bills, were even submitted for reimbursement or

that Dr. Six and Valley Neurosurgeons, P.L.L.C. treated patients who were paid by federal

programs.

       At its core, Relater has pied that Dr. Six and Valley Neurosurgeons, P.L.L.C. had

a preference for certain medical devices- as every spine surgeon in the country

does-and that he encouraged Harlingen Medical Center to purchase those devices from

distributors with which his son-in-law had a relationship. Docket 18 at ,I 47. Then, the

reader is left to make the tremendous leap in logic to conclude that this must be the result

of kickbacks and/or a prohibited financial relationship under the Stark Law. There is

obviously a much more plausible/probable and logical interpretation of the facts pied.

Relater, as a spine surgeon who competes in the market with Dr. Six and Valley

Neurosurgeons, P.L.L.C., knows full well that spine surgeons work closely with device

representatives who accompany surgeons into the operating room and assist in

preparation of the trays of implant pieces. Windle v. Synthes USA Prod., LLC, No. 3:11-

CV-2591-D, 2012 WL 1252550, at *2 (N.D. Tex. Apr. 13, 2012). So it is puzzling that the

Complaint pleads "Gonzales [Dr. Six's son-in-law] was often in the operating room at the

same time as Dr. Six and Valley Neurosurgeons, P.L.L.C. during these surgeries," as if that

is somehow a damning fact. Id. at ,I 49. Spine surgeons understand the importance of a

supplier and sales representative of medical device products who they can trust and rely
upon regarding the correct implementation of their hardware. Reliance by Dr. Six and

Valley Neurosurgeons, P.L.L.C. on Dr. Six's son-in-law, who HMC chose to do business

with is the obvious interpretation under Twombly, 550 U.S., at 555, 557). Iqbal, 556 U.S.

at 679.

              Relator Fails to State a Claim Under the Anti-Kickback Statute

          A plaintiff fails to plead with particularity a kickback scheme if the plaintiff does not

"sketch how it was that Defendant provided remuneration to its clients, the form of that

remuneration, how and why Defendant believed that remuneration would induce new

business, and how Defendant benefitted from the remuneration." U.S. ex rel. Ruscher v.

Omnicare, Inc., No. 4:08-CV-3396, 2014 WL 2618158, at *10 (S.D. Tex. June 12, 2014),

on reconsideration in part sub nom. Ruscher v. Omnicare Inc., No. 4:08-CV-3396, 2014

WL 4388726 (S.D. Tex. Sept. 5, 2014 ). First, there are no factual allegations that Dr. Six

and Valley Neurosurgeons, P.L.L.C. offered, paid, solicited, or received any remuneration.

Relator alleges that Harlingen Medical Center "provides an illegal financial payment to Dr.

Six's family each time Dr. Six and Valley Neurosurgeons, P.L.L.C. performs a surgery at

HMS." Pl.'s Am. Campi. ,r 56. This is totally vague and conclusory and Relator offers no

factual details or explanation of how the alleged illegal financial payment is made. No facts

show how any money allegedly goes to Dr. Six or his family or and Valley Neurosurgeons,

P.L.L.C .. Relator only alleges that the hospital buys products from a medical supplies

company. There is no allegation that for each surgery some monetary amount goes to a

personal account.

          Next, Relator makes no factual allegations that Dr. Six and Valley Neurosurgeons,

P. L. L.C. took any action that was in return for referring an individual for government funded

services. 42 U.S.C. § 1320a-7b(b). Relator gave no facts to show that Dr. Six and Valley
Neurosurgeons, P.L.L.C. engaged in any referrals whatsoever. In fact, the Complaint gives

no explanation of Dr. Six and Valley Neurosurgeons, P .L.L.C. making any patient referrals .

Relator asserts a "compensation relationship ... between HMC and NuERA/Gonzales

because of Dr. Six and Valley Neurosurgeons, P.L.L.C.'s patient referrals to HMC" but

gives no factual explanation of which patients, how many patients, in what context, during

what period of time, or for what services any patients were referred to the medical center.

Pl.'s Am. Comp!.   ,r 64.   And finally, Relator gives no facts to show how Dr. Six and Valley

Neurosurgeons, P.L.L.C. acted knowingly and willfully in violation of the law.

       Relator failed to plead a kickback scheme with particularity because he could not

"sketch how it was that" Dr. Six and Valley Neurosurgeons, P.L.L.C. offered, paid, received,

or solicited any remuneration nor that any remuneration took place, nor how and why any

such improper payment would or could induce new business.               Omnicare, 2014 WL

2618158 at *10. The simple fact of the matter is Dr. Six and Valley Neurosurgeons,

P.L.L.C. does all of his procedures at HMC because that is where he practices.

                                            Summary

       In short, this meritless case wholly fails to meet the requirements of Rule 12(b)(6)

and Rule 9(b) because it is being brought for all the reasons that those Rules were

designed to prevent. The simple fact is that no scheme exists, that no laws have been

violated and this case simply needs to be dismissed.

                                         Relief Sought

       Dr. Eric Six, M.D. and Valley Neurosurgeons, P.L.L.C., Defendants, move this Court

to dismiss Realtor's Complaint with prejudice as to Dr. Eric Six, M.D. and Valley

Neurosurgeons, P.L.L.C ..
      Signed on May 29, 2023.

                                         Respectfully submitted,

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                                                and Valley Neurosurgeons, P.L.L.C.




                             CERTIFICATE OF SERVICE

        I certify that on May 29, 2023, I electronically filed the foregoing Memorandum of
Law in Support of Defendant Dr. Eric Six, M.D. and Valley Neurosurgeons, P.L.L.C .'s
Motion to Dismiss Relator's First Amended Complaint which will automatically send email
notification of such filing to all attorneys of record .




                                                Marion R. Lawler 111
